    Case 4:22-cv-00092-O Document 101 Filed 07/16/24                Page 1 of 19 PageID 1085



                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

CHASITY CONGIOUS,                                 §
by and through her Guardian, Kimberly             §
Hammond, on behalf of Herself and as              §
Mother and Next Friend of Z.C.H.,                 §
Deceased,                                         §
                                                  §
        Plaintiff,                                §   Civil Action No. 4:22-cv-00092-O
                                                  §
v.                                                §
                                                  §
AARON IVY SHAW,                                   §
                                                  §
        Defendant.                                §

                            MEMORANDUM OPINION & ORDER

        Before the Court are                      for Relief from Judgment (ECF No. 92), Brief in

Support (ECF No. 93), and Appendix (ECF No. 94), filed on April 2, 2024;

(ECF No. 97), filed on April 23, 2024;                    Reply (ECF No. 98) and Appendix (ECF

No. 99), filed on May 7, 2024. Having considered the briefing and the applicable law, the Court

GRANTS                request for reconsideration.

I.      BACKGROUND1

        A. Factual Background

        This case arises from the tragic death of a baby girl born to Plaintiff Chastity Congious

                           ) in a prison cell. Congious suffers from various psychiatric diagnoses,

including schizoaffective disorder, bipolar type, psychosis, schizophrenia, mood disorder,

hallucinations, delusions, suicidal ideations, prior suicide attempts and self-harm, anxiety disorder,




1
 The                            Amended Complaint (ECF No. 32)                                 March
31, 2023 Memorandum Opinion and Order (ECF No. 61).

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 Case 4:22-cv-00092-O Document 101 Filed 07/16/24                  Page 2 of 19 PageID 1086



adjustment disorder, and intellectual disability. She also has a family history of mental health and

behavioral disorders.                                                     twenty-one years old.

       On January 15, 2020, Congious suffered a mental health crisis while four months pregnant.

Due to concerns about likely self-harm                     family called the Fort Worth Police

Department to involuntarily commit her to JPS Hospital. Rather than take Congious to JPS

Hospital, Officer David Nguyen arrested Congious for simple assault. Because Congious was

already on probation for a prior unrelated offense, she was denied bond and placed in Tarrant

County Jail on a probation hold.



confinement and limited human interaction. Most of this limited contact with other people came

in the form of receiving treatment from various health professionals, who reported that Congious

was suicidal and often unable to comprehend her pregnant state. By mid-May of 2020, Congious

was nonverbal, incommunicative, and had not made a sound in weeks. Despite her worsening

mental health condition, routine prenatal checkups consistently revealed that             baby was

in good health.

       As the end of                 pregnancy approached, a nurse reported that she may not

recognize what a contraction is. By week 37 of the pregnancy, Dr. Melanie Carter conducted a

routine obstetrics exam, reporting that Congious did not respond to questions, would not be able

to express her symptoms, and may not recognize when she went into labor. Because of these risks,

Dr. Carter recommended that Plaintiff should undergo an induced labor. Dr. Aaron Shaw

                             ) then-medical director of Tarrant County Jail and overseeing all of

          s health care

Instead, Dr. Shaw was responsible for                continued solitary confinement. Dr. Shaw also



                                                 2
 Case 4:22-cv-00092-O Document 101 Filed 07/16/24                  Page 3 of 19 PageID 1087



elected not to transfer Congious to a medical facility or afford her around-the-clock care,

monitoring, and supervision to mitigate against the pregnancy risks due to her psychological

condition.

       Shortly after her last check-up with Dr. Carter, Congious went into labor on the morning

of May 17, 2020. After eating breakfast,               stomach began to hurt and she thought that

she needed to use the bathroom. When using the bathroom did not relieve her abdominal pain,

Congious banged on the window of her cell for

visible on the toilet seat. Although two correctional officers were responsible for monitoring the

pregnant Congious, they did not respond to her banging. As a result, Congious gave birth to her

baby girl alone in the cell. At some point after the birth, one of the correctional officers entered

the cell. Upon seeing the blood from the delivery, the correctional officer called the paramedics.

Tragically, the baby girl was not breathing by that point and had only a faint heartbeat due to the

umbilical cord wrapped around her tiny neck. Doctors at                                attempted to

administer life-saving aid to the comatose baby over the course of ten days, but she had no brain

activity due to oxygen deprivation for an unknown period of time. Congious was also in a

worrisome state due experiencing a sizable loss of blood and a grade-3 perineal tear. Since the

mother and daughter were taken to different hospitals, Congious never saw her baby daughter

again because, on May 27, 2022, doctors removed                life support.

                                                  Congious was put on suicide watch due to her

worsening mental health symptoms. Despite her grief, Congious was denied compassionate release

to                                Yet six days later, the charges against Plaintiff were dropped.

Shockingly, at no point during her five months of incarceration did Congious receive a legal

hearing. Following her release from Tarrant County Jail, Congious was transferred to JPS Hospital



                                                 3
    Case 4:22-cv-00092-O Document 101 Filed 07/16/24               Page 4 of 19 PageID 1088



where she underwent months of intensive inpatient care. Congious was eventually released into

the care of her mother. Still unable to fully comprehend these traumatic events, Congious continues

to ask when her deceased daughter will come back.

        B. Procedural Background

        On March 31, 2023, the Court issued its Memorandum Opinion and Order on five motions

to dismiss, leaving Tarrant County as the sole remaining defendant.2 One of the motions to dismiss

was filed by Dr. Shaw.3 At the time, the Court based its decision on the lack of plausible facts that

Dr. Shaw knew Congious was in pain the morning she gave birth and, notwithstanding that

knowledge, refused her medical care.4 As a result, the Court found Dr. Shaw was entitled to

qualified immunity5 and entered its Final Judgment as to the dismissed Defendants, including Dr.

Shaw, on April 3, 2023.6

        Approximately one year later, on April 2, 2024, Plaintiff moved the Court for relief from

the Final Judgment.7 According to Plaintiff, newly discovered evidence warrants reconsideration

of the Final Judgment as to Dr. Shaw.8 The new evidence is an email produced in December 2023

towards the end of discovery.9 The email contained a daily report of inmates in the Female

Infirmary sent to Dr. Shaw and other recipients.10 With respect to Congious, the daily report
                                                                                                   11


                            , Dr. David A. Gutman,


2
  Mar. 31, 2023 Mem. Op. & Order 33, ECF No. 61.
3
  Id.
4
  Id. at 22.
5
  Id. at 33.
6
  Apr. 3, 2023 Final J., ECF No. 62.
7
        Br. in Support of Mot. for Relief from J. 6, ECF No. 93.
8
  Id. at 2 3.
9
  Id. at 3.
10
   Id.
11
   Id.

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 Case 4:22-cv-00092-O Document 101 Filed 07/16/24                       Page 5 of 19 PageID 1089



the morning she gave birth were uterine contractions from labor. 12 Plaintiff argues that this new

evidence reveals Dr. Shaw knew prior to Congious giving birth that she was experiencing labor

pains.13

II.      LEGAL STANDARD

         Rule 60 authorizes a court to provide relief from a final judgment

under limited circumstances. FED. R. CIV. P. 60(b)(1) (6); see SEC v. Novinger, 40 F.4th 297, 302

(5th Cir. 2022) (

60(b))

reasonable diligence, could not have been discovered in time to move for a new trial under Rule

           FED. R. CIV. P. 60(b)(2). To prevail on a

demonstrate: (1) that it exercised due diligence in obtaining the information; and (2) that the

evidence is material and controlling and clearly would have produced a different result if present

                                  Doe v. Keller Independent School District, No. 4:21-cv-01094-O,

2023 WL 2711629, *4 (N.D.

                                                                              Templet v. HydroChem

Inc., 367 F.3d 473, 479 (5th Cir. 2004). Because of the extraordinary nature of this remedy, Rule

60 requires that any such requests                                                  FED. R. CIV. P.

60(c)(1). And if Rule 60(b)(2) is the asserted reason for reconsideration, the request must be made

                                                                                              Id.




12
                Support of Mot. for Relief from J. 12, ECF No. 94.
13
                    Support of Mot. for Relief from J. 1, ECF No. 98.

                                                   5
 Case 4:22-cv-00092-O Document 101 Filed 07/16/24                      Page 6 of 19 PageID 1090



III.    ANALYSIS

                                                         April 3, 2023 Final Judgment (ECF No. 62)

based on newly discovered evidence.14 In the Final Judgment, the Court dismissed with prejudice

                                    Defendant.15 Defendant opposes reconsideration, arguing that

                                                        Plaintiff fails to carry her burden under Rule

60(b)(2).16                                                    reviewed the applicable law, the Court



requirements.

        A. Timeliness of the Rule 60 Motion

                                                                                                      is

                                                                   in two ways: (1) Plaintiff filed her

motion more than one year after the                                 Memorandum Opinion and Order

and (2) Plaintiff did not seek reconsideration within a reasonable time of discovering the new

email.17 Plaintiff rejects both untimeliness characterizations.18 The Court agrees with Plaintiff.

        1. One-Year Limit



was filed within one year after entry of the Final Judgment. The Supreme Court instructs lower

                                                                                    Pavelic & LeFlore v.

                     , 493 U.S. 120, 123 (1989) (citation omitted). Complying with that instruction,

the text of Rule 60 is straightforward: reconsideration based on the first three grounds is



14
         Br. in Support of Mot. for Relief from J. 1 2, ECF No. 93.
15
   Apr. 3, 2023 Final Judgment, ECF No. 62.
16
   Def.                                                          1 2, ECF No. 97.
17
   Id. at 9 10.
18
                                                           10, ECF No. 98.

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 Case 4:22-cv-00092-O Document 101 Filed 07/16/24                    Page 7 of 19 PageID 1091



                                                                         or order or the date of the

               FED. R. CIV. P. 60(c)(1) (emphases added).

instructive here.

        As the Supreme Court has explained,                                                   Encino

Motorcars, LLC v. Navarro, 584 U.S. 79, 87 (2018) (Thomas, J.) (quoting United States v. Woods,

571 U.S. 31, 45 (2013) (Scalia, J.)). Applying this disjunctive understanding here implies that



As a result, it is possible for there to be multiple triggering events that start the one-year clock.

This is the only construction that avoids rendering any words superfluous. Corley v. United States,

556 U.S. 303, 314 (2009). In contrast, to                            retation of Rule 60 would be to



                                                      . The only way to give effect to all words is to

                                            three mutually exclusive conditions. In other words, the

party seeking reconsideration has a choice depending on if there are multiple qualifying events

an order, judgment, or proceeding    that occurred on different dates.

        There are two qualifying events here: the underlying March 31, 2023 Memorandum

Opinion and Order and the April 2, 2023 Final Judgment. As such, Plaintiff could seek

reconsideration based on either event provided she did so within one year and provide that nothing

else blocked reconsideration of one of those final events. Plaintiff chose to seek reconsideration

based on the later event, the Final Judgment, even though it rests on the reasoning outlined in the

underlying Memorandum Opinion and Order. Because the Final Judgment qualifies as an

independent event under Rule 60 and Plaintiff sought reconsideration within one year, the Court

finds that Plaintiff                  barring any other obstacles.



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 Case 4:22-cv-00092-O Document 101 Filed 07/16/24                      Page 8 of 19 PageID 1092



          Additional obstacles may come in the form of a conflict with another rule. When this

occurs, the Court must endeavor to interpret the applicable rule in harmony with the other rules.

Cf. Finisar Corp. v. DirecTV Grp., Inc., 424 F. Supp. 2d 896, 899 (E.D. Tex. 2006) (explaining



                                                                                Doing so here, the only

application of Rule 60 in this case that prevents a conflict with another rule Rule 54 is to

conclude that reconsideration is appropriate based only on the Final Judgment. Pursuant to Rule

54,

          [w]hen an action presents more than one claim for relief whether as a claim,
          counterclaim, crossclaim, or third-party claim or when multiple parties are
          involved, the court may direct entry of a final judgment as to one or more, but fewer
          than all, claims or parties only if the court expressly determines that there is no just
          reason for delay. Otherwise, any order or other decision, however designated, that
          adjudicates fewer than all the claims or the rights and liabilities of fewer than all
          the parties does not end the action as to any of the claims or parties and may be
          revised at any time before the entry of a judgment adjudicating all the claims and
          all the parties rights and liabilities.

FED. R. CIV. P.

less than all of the claims for fewer than all parties to the lawsuit because claims against Defendant

Tarrant County survived dismissal.19 The Court subsequently determined there was no just reason

to delay final judgment as to those parties dismissed from the lawsuit.20 By entering the Final




Id.

Judgment.




19
     Mar. 31, 2023 Mem. Op. & Order 33, ECF No. 61.
20
     Apr. 3, 2023 Final Judgment, ECF No. 62.

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 Case 4:22-cv-00092-O Document 101 Filed 07/16/24                   Page 9 of 19 PageID 1093



       2. Reasonable Time

       In addition to the one-year outer limit for seeking reconsideration based on the first three

                                                                                              FED. R.

CIV. P. 60(c)(1).

                      11 CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND

PROCEDURE § 2866 (3d ed. 2024). The facts to consider are the reasons for any delay seeking relief

and any prejudice to the non-moving party due to the delay. Id. Considering those facts here, the

Court concludes that Plaintiff moving for reconsideration four months after discovering the new

evidence is not an unreasonable time under the circumstances.

       Courts in the Fifth Circuit routinely find the filing of a motion to reconsider timely when

filed four months after discovering the ground upon which reconsideration is based. See e.g., First

RepublicBank Fort Worth v. Norglass, Inc., 958 F.2d 117, 120 (5th Cir. 1992) (citing with approval

the Second Circuit finding that a Rule 60(b) motion was brought within a reasonable time when it

was filed four months after the grounds for the motion were discovered); Lairsey v. Advance

Abrasives Co., 542 F.2d 928, 929 (5th Cir. 1976) (determining that a Rule 60(b) motion was filed

within a reasonable time when it was filed four months after the filing of a notice of appeal); Curley

v. JP Morgan Chase Bank NA, No. 14-2633, 2015 WL 3863499, *1 *2, W.D. La. June 22, 2015)

(addressing the merits a Rule 60(b) motion filed within four months); Coleman v. Cain, No. 05-

799, 2009 WL 3400462, *4 (E.D. La. Oct. 14, 2009) (assuming without deciding that a Rule 60(b)

motion brought within about four months was a reasonable time). Other courts have even found

reconsideration requests timely after lengthier periods of time. See, e.g., 11 CHARLES ALAN

WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND PROCEDURE § 2866 (3d ed. 2024)

(collecting cases).



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Case 4:22-cv-00092-O Document 101 Filed 07/16/24                     Page 10 of 19 PageID 1094



        Even if the Court determined that this four-month period constituted undue delay,

consideration of what occurred during this time persuades the Court

still

the importance of the new email, submit it for analysis by Dr. Gutman, perform legal research and

analysis, and then prepare the Rule 60(b) motion with supporting materials.21

also apprises the Court of various intervening events beyond just the holiday season, including a
                                                            22
leave of absence                                                 Given these circumstances, the Court

finds that four months is a reasonable length of time to seek reconsideration and does not indicate

an undue delay.

        Regarding the final consideration, the Court finds no prejudice to Defendant. At the outset,

Defendant did not claim any prejudice in his response brief.23 Nor did Defendant dispute that he

knew or should have known of the new email because he was the recipient.24 The Court finds that

Defendant cannot be unfairly prejudiced based upon the very facts of which he was already aware.

Combined with the finding that Plaintiff reasonably sought reconsideration within four months of

discovering the new evidence

        B. Newly Discovered Evidence

        Having determined that the reconsideration request is timely, the Court next evaluates

                                                                                 Rule 60(b)(2) deals

with situations in which newly discovered evidence calls into question the validity of a judgment

by directly refuting the underpinnings of the theory which prevailed. Stilwell v. Travelers Ins. Co.,

327 F.2d 931 (5th Cir. 1964); Serio v. Badger Mut. Ins. Co., 266 F.2d 418 (5th Cir. 1959). For new


21
                                                      10, ECF No. 98.
22
   Id.
23
   See generally                                                             11, ECF No. 97.
24
   See generally id.

                                                 10
Case 4:22-cv-00092-O Document 101 Filed 07/16/24                     Page 11 of 19 PageID 1095



evidence to justify reopening the case under Rule 60(b)(2), the moving party must satisfy two

requirements. First, the movant must demonstrate that the

                                                                              Jenkins v. Tarrant Cnty.

              , No. 22-10244, 2023 WL 5665774, at *2 (5th Cir. Sept. 1, 2023) (per curiam)

(citation and internal quotation marks omitted). Second, the new

                                                           Id. Plaintiff meets both requirements.

               1. Reasonable Diligence

       Plaintiff argues that she acted with reasonable diligence to uncover the new evidence.25 In

response, Defendant suggests that Plaintiff failed to exercise reasonable diligence at two different

stages of this lawsuit: (1) prior to filing and (2) prior to dismissal.26 Neither argument shows a lack

of reasonable diligence. Instead, the Court finds that the new evidence was unavailable to Plaintiff

when the Court dismissed claims against Defendant. And there is no reason to believe that this

evidence should have been available to Plaintiff at these early stages of the dispute.

       Start with the question of whether Plaintiff deployed diligent efforts to obtain relevant

medical records     or other records that might have included the new email on which her

reconsideration request is based    prior to filing suit. Plaintiff represents that she attempted to gain

access to these records but explains that the new email was not included in the produced

information.27 But even if Plaintiff had not requested her records prior to filing this lawsuit,

                       still falls flat by presupposing that Plaintiff was aware such an email existed

in the first place. Contrast this situation with the case cited by Defendant. In Johnson-Williams v.

CitiMortgage, Inc., the plaintiff was already aware that a particular document existed and sought


25
                                              4, ECF No. 93
from J. 2 4, ECF No. 98.
26
                                                              5 6, ECF No. 97.
27
                                                        3, ECF No. 98.

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Case 4:22-cv-00092-O Document 101 Filed 07/16/24                          Page 12 of 19 PageID 1096



reconsideration based on the fact that a hard copy was not previously made available. 3:14-cv-

03927-M (BH), 2016 WL 853079, at *2 (N.D. Tex. Feb. 11, 2016) (Ramirez, M.J.). As a result,

there was

Id. This opposite is true here. There is no reason to believe that Plaintiff would have known, prior

to discovery, of this particular internal communication. Therefore, this first argument fails to

                                       reasonable diligence.

          Next consider the question of whether Plaintiff undertook sufficiently diligent efforts to

obtain her medical records      or other records that might have included the new email on which her

reconsideration request is based        after filing the lawsuit but prior to the motion-to-dismiss stage.

According to Defendant, Plaintiff should have exercised additional diligence prior to dismissal to

ensure that discovery proceeded.28 To be sure,

stay discovery despite opposing the motion.29 But a response would not have produced a different

outcome. As the Fifth Circuit made clear, an assertion of qualified immunity in a motion to dismiss

requires the district court to stay all discovery until after resolution of the qualified immunity

question. See Carswell v. Camp, 54 F.4th 307, 312 13 (5th Cir. 2022) (




resolving immunity questions at the earliest possible stage                                   Pearson v.

Callahan, 555 U.S. 223, 237 (2009)). That is because the qualified immunity defense exists to
                                                                      30
                                                                           Id. at 313. Given that various

individual Defendants, including Dr. Shaw, asserted the defense of qualified immunity, the Court



28
                                                                 5, ECF No. 97.
29
     Apr. 4, 2022 Order, ECF No. 25.
30
                                                                    98.

                                                     12
Case 4:22-cv-00092-O Document 101 Filed 07/16/24                    Page 13 of 19 PageID 1097



was obligated to stay discovery with or without a response from Plaintiff. As a result, Plaintiff did

not have the new email prior to dismissal because discovery could not yet begin. Defendant does

not contest that Plaintiff was neither in possession nor aware of the new evidence until long after

dismissal.31

                                                                     then

explanation for obtaining the newly discovered evidence to determine whether she acted with

reasonable diligence. The Court concludes that she does. Plaintiff represents that she received the

new email in December 2023 through the course of discovery.32 This occurred between eight and

                                                               Even after receiving the discovery

production containing the new email, Plaintiff then sought the opinion of her expert.33 Dr. Gutman

reviewed the new email and opined in his expert report that Congious experienced abdominal pain

the morning she gave birth, revealing that she was, in fact, in labor.34           expert report was

timely submitted on December 12, 2023.35

based not just on the existence of the new email, but also the expert opinion discussing it, the Court

must assess whether the approximately four-month period between receiving the email and seeking

reconsideration shows a lack of reasonable diligence. It does not.

           As explained above, a four-month delay is not an unreasonable length of time to digest the

new evidence the unearthed email and the expert report analyzing its significance             and then

prepare and file a motion for reconsideration. Similarly, Defendants do not suggest that Plaintiff


31
     See generally                                                           6, ECF No. 97.
32
                                               3, 4, ECF No. 93.
33
     Id. at 3;
34
               Support of Mot. for Relief from J. 12, ECF No. 94.
35
  Apr. 6, 2023 Am. Scheduling Order 1, ECF No. 65; see also
from J. 3 4, ECF No. 98 (noting that the remaining Defendant, Tarrant County, disclosed its responsive

12, 2023).

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Case 4:22-cv-00092-O Document 101 Filed 07/16/24                   Page 14 of 19 PageID 1098



failed to comply with any discovery deadlines or otherwise generated delays in the discovery

process that caused her to receive the new evidence at a much later date.36 Therefore, the Court

finds that Plaintiff exercised reasonable diligence and concludes that Plaintiff satisfies the first

Rule 60(b)(2) requirement.

                 2. Material, Controlling, or Would Have Produced a Different Result

       Plaintiff argues that the new email is material, controlling, and would have produced a

different result at the motion-to-dismiss stage as to Defendant.37 In response, Defendant contends

that the new email is neither material nor controlling, and

decision to dismiss claims against Defendant.38 The Court agrees with Plaintiff. If Plaintiff had the

new email and accompanying expert opinion discussing it, she would have alleged those facts to

show that Dr. Shaw took no action in response to learning about her abdominal pain. 39 These are

material facts                                                                                    Cf.

Sonnier v. State Farm Mut. Auto. Ins. Co., 509 F.3d 673, 675 (5th Cir. 2007) (recognizing that

courts must take all well-pleaded facts as true).




                          40
                                                                              errs in the application.

                                                            Thermacor Process, L.P. v. BASF Corp.,

567 F.3d 736, 744 (5th Cir. 2009). To the contrary, it provides new facts that materially alter the

        prior analysis.


36
   See generally                                                                6, ECF No. 97.
37
        Br. in Support of Mot. for Relief from J. 4 5, ECF No. 93.
38
                                                                 6 9, ECF No. 97.
39
                                                               .
40
                                                                   1, ECF No. 97 (quoting Doe, 2023 WL
2711629, at *4).

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Case 4:22-cv-00092-O Document 101 Filed 07/16/24                     Page 15 of 19 PageID 1099



        As the Court explained at the motion-to-                       [d]eliberate indifference is an
                                        41
extremely high



Crim. Just., 239 F.3d

refused to treat h[er], ignored h[er] complaints, intentionally treated h[er] incorrectly, or engaged



Id.

                                                               Id.

        The newly discovered evidence demands a different application of this law. Previously, the



                                                        42
                                                             Based on the available facts, the Court

determined that Dr. Shaw was entitled to qualified immunity because the denial of care was simply



circumstances despite the ever-present

situation.43
                                   44
                                        The new evidence fills in that gap.

                                                     pain has come to light, it materially affects the

               analysis. Taking the new evidence as true, as the Court would do at the motion-to-

dismiss stage, the reasonable inference to draw is that Dr.

abdominal pain. Given that Dr. Shaw also knew Congious was largely nonverbal, cognitively

delayed, and psychologically fragile such that she may not recognize what a contraction is or when


41
   Mar. 31, 2023 Mem. Op. & Order 21, ECF No. 61 (quoting Domino, 239 F.3d at 756) (cleaned up)).
42
   Id. at 20 21.
43
   Id. at 21.
44
   Id. at 22.

                                                   15
Case 4:22-cv-00092-O Document 101 Filed 07/16/24                      Page 16 of 19 PageID 1100



labor starts, this new evidence, taken as true, reveals that Dr.

                                  ed

                                                          Id. This goes beyond Dr. Shaw delaying the

transfer of Chastity to a medical facility or not otherwise providing around-the-clock monitoring.45

Those actions, as the Court previously explained, can be reconciled as continuing the baseline care

due to the absence of a change to the medical status quo.46 The new evidence reveals conduct of a

far more wanton nature.

           This is not the only                                              . Similarly,

                                  to carry [her] burden

                             no longer stands.47 That is because the new evidence presents

substantially similar circumstances to those in Easter v. Powell, which clearly established that a

                                                          467 F.3d 459, 461 (5th Cir. 2006). As Easter

explained, it is appropriate to infer subjective awareness if a substantial risk of harm when the

medical professional knew (1) the underlying medical risks or condition facing the patient, (2) the

patient was experiencing severe pain, and (3) the patient did not have the required treatment in

light of those combined circumstances. Id. at 463.

adjusting the baseline of care to account for the change in the medical circumstances showed

deliberate indifference where a nurse ignored

he suffered from a heart condition and lacked the necessary medication to treat the pain. Id. at

463 64. Like Easter, Dr. Shaw offered Congious no new treatment options when presented with

information about her abdominal pain indicating labor. Instead, Dr.


45
     Id at 5.
46
     See id. at 21
47
     Id. at 22.

                                                  16
Case 4:22-cv-00092-O Document 101 Filed 07/16/24                   Page 17 of 19 PageID 1101



electing to do nothing and instead keeping Congious confined to her cell without any monitoring

or addressing the pain.

           Defendant attempts to distinguish Easter by arguing that the inmate directly communicated

his concerns to the nurse, whereas Congious did not directly communicate anything to Dr. Shaw.48

But Easter does not even suggest that the means of conveying the complaint is important to the

analysis. What matters is how the facts reveal a subjective awareness of the serious medical risk

not the manner in which the subjective awareness materializes. Id. at 464. Therefore, that Congious

did not verbally communicate her complaints to Dr. Shaw in person is irrelevant in light of the

email report directly conveying these complaints on her behalf.

           Defendant also attempts to downplay the email as not adding any meaningful facts since

the Court already accepted that Dr. Shaw subjectively knew Chastity was at risk and made a

decision to deny her medical care.49 But as explained above, the new facts do more than

                                                                            r. Shaw maintaining the

baseline level of care. Instead, the new facts depict a situation in which Dr. Shaw



                                                         after learning of a change in her medical

situation indicating labor. Domino, 239 F.3d at 756. This inference is based entirely on the newly

discovered evidence the email and expert report          that, when taken as true, reveal Dr. Shaw

subjectively knew Congious was experiencing labor pains. Based on these new facts, Dr.

failure to take any action to treat Congious provides material information not previously known to

the Court that would have changed the result at the motion-to-dismiss stage. Indeed, these are not

merely cumulative of those facts already before the Court.


48
                                                             7 8, ECF No. 97.
49
     Id. at 6 7.

                                                  17
Case 4:22-cv-00092-O Document 101 Filed 07/16/24                      Page 18 of 19 PageID 1102



          Finally,                                                                               of the

new evidence are unavailing. At the motion-to-dismiss stage, the Court must accept all well-

pleaded facts as true. Sonnier, 509 F.3d at

expert report

on the morning that [Congious] gave birth that she was complaining of stomach pain and in labor
                               50
                                    The Court would have been required to accept these facts as true at

that stage. Challenges to the evidentiary underpinnings of these facts are properly asserted during

the merits stages    summary judgment or trial.

          C. Terms for Reopening

          Having concluded that reconsideration is warranted, the Court must consider the terms of

reopening the case.

FED. R. CIV. P. 60(b). This means that the Court must apply any conditions it deems appropriate

when reopening a case. Doing so here, the Court finds it appropriate to reopen this case only on a

limited basis. The new evidence warrants reopening this case as to the denial-of-medical-care-

claim brought against Dr. Shaw under 42 U.S.C. § 1983. Crucially, this case is not reopened as to

the wrongful-

March 31, 2023 Memorandum Opinion & Order.51                         newly discovered evidence in no

way alters               prior determination as to those claims.

          In addition to limiting the scope of reopening the case, the Court also finds it appropriate

for this case to proceed in an expedited manner given that this case was filed more than two-and-

a-half years ago.52 At this point, the issues are well-known to both parties and were previously



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     Mar. 31, 2023 Mem. Op. & Order 19, ECF No. 61.
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Case 4:22-cv-00092-O Document 101 Filed 07/16/24                 Page 19 of 19 PageID 1103



subject to full briefing at the motion to dismiss stage. Therefore, Plaintiff SHALL file her Second

Amended Complaint against Defendant by no later than July 29, 2024. Upon the filing of the

amended complaint, Defendant SHALL submit his answer or other responsive pleading by no

later than August 12, 2024.

response SHALL be due by August 23, 2024 a                             SHALL be due by August

30, 2024.

IV.    CONCLUSION

       Although an extraordinary remedy, the Fifth Circuit has made clear that Rule 60(b) should

                                                               Steverson v. GlobalSantaFe Corp.,

                                                                      r. Shaw deliberately denied

her medical care which resulted in the tragic and preventable death of her innocent baby. When

the Court entered its Final Judgment as to Defendant, Congious did not have the new email

showing that Dr. Shaw took no action on the day Congious gave birth despite knowing that she

was in pain and in labor. Congious also did not have the expert report discussing this new email.

Therefore, having determined that Plaintiff timely sought reconsideration and, in doing so, pointed

to newly discovered evidence justifying such relief

proceed in light of the newly discovered evidence so that justice may be achieved. Therefore, the

Court GRANTS                                           , subject to the limitation discussed above,

and SETS this case on the expedited track. The Clerk of Court is DIRECTED to REOPEN this

                                    Second Amended Complaint.

       SO ORDERED on this 16th day of July, 2024.


                                              _____________________________________
                                              Reed OConnor
                                              UNITED STATES DISTRICT JUDGE


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